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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 DAVID G. KADEN,                                  §
                                                  §
      Plaintiff,                                  §
                                                  §
 v.                                               §    EP-17-CV-00053-KC
                                                  §
 SCHLEESE SADDLERY SERVICE                        §
 LTD.,                                            §
                                                  §
      Defendant.                                  §

                                             ORDER

         On this day, the Court considered the parties’ Joint Motion to Dismiss with Prejudice,

ECF No. 47, in the above-captioned case. In accordance with Rule 41(a) of the Federal Rules of

Civil Procedure and the terms of the parties’ Joint Motion, the Court ORDERS that this case is

hereby DISMISSED with prejudice.

         IT IS FURTHER ORDERED that each party will bear its own costs.

         IT IS FURTHER ORDERED that all upcoming court dates are hereby CANCELED,

including the hearing on the outstanding Motion to Withdraw scheduled for Monday, January 29,

2018.

         The Clerk shall close the case.

         SO ORDERED.

         SIGNED this 25th day of January, 2018.




                                       KATHLEEN CARDONE
                                       UNITED STATES DISTRICT JUDGE
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